                         Fourth Court of Appeals
                               San Antonio, Texas
                                   December 28, 2020

                                   No. 04-20-00236-CV

 Lesley WENGER, City of Castle Hills Alderman Place 4 and Sylvia Gonzalez, City of Castle
                                     Hills, Place 3,
                                      Appellants

                                            v.

  THE STATE OF TEXAS, ex. rel.,Mike Flinn, Bonnie Hokpe, Vince Martinez, Scott Gray,
                      Ginger Magers, and Robbie Casey,
                                   Appellees

                From the 438th Judicial District Court, Bexar County, Texas
                             Trial Court No. 2019-CI-15722
                          Honorable Larry Noll, Judge Presiding


                                     ORDER
         Appellants’ motion for an extension of time to file a reply brief is GRANTED.
Appellants’ reply brief is due on or before January 21, 2021.


                                                 _________________________________
                                                 Irene Rios, Justice


       IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of the said
court on this 28th day of December, 2020.



                                                 ___________________________________
                                                 MICHAEL A. CRUZ, Clerk of Court
